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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

NETLIST, INC.,                               )
                                             )
              Plaintiff,                     )
                                             )    Case No. 2:22-cv-293-JRG
       vs.                                   )
                                             )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;                 )    (Lead Case)
SAMSUNG ELECTRONICS AMERICA,                 )
INC.; SAMSUNG SEMICONDUCTOR                  )
INC.,                                        )
                                             )
              Defendants.                    )

NETLIST, INC.,                  )
                                )
          Plaintiff,            )
                                )
                                                  Case No. 2:22-cv-294-JRG
     vs.                        )
                                )
                                                  JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.; )
MICRON TECHNOLOGY TEXAS LLC, )
                                )
          Defendants.           )
                                )

    NETLIST, INC.’S UNOPPOSED MOTION TO WITHDRAW OBJECTIONS TO
   SPECIAL MASTER’S REPORTS AND RECOMMENDATIONS ON SAMSUNG’S
   MOTION TO COMPEL THE DEPOSITION OF DR. HYUN LEE (DKT. 202) AND
      NETLIST’S MOTION TO CORRECT MATERIAL ERROR IN HEARING
                         TRANSCRIPT (DKT. 380)

       Plaintiff Netlist, Inc. (“Netlist”) hereby respectfully moves to withdraw its objections to

the Special Master’s reports and recommendations on Samsung’s Motion to Compel the

Deposition of Dr. Hyun Lee (Dkt. 202, “Samsung’s Motion to Compel Dr. Lee’s Deposition”) and

Netlist’s Motion to Correct Material Error in Hearing Transcript (Dkt. 380, “Netlist’s Motion to

Correct”).
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       On February 8, 2024, Netlist filed its objections to the first report and recommendation of

the Special Master (Dkt. 377), objecting to, inter alia, the Special Master’s recommendation

granting Samsung’s Motion to Compel Dr. Lee’s Deposition. Dkt. 535 at 7-10. On February 23,

2024, Netlist filed its objections to the second report and recommendation of the Special Master

(Dkt. 636) objecting to the Special Master’s recommendation denying Netlist’s Motion to Correct.

Dkt. 659. Netlist hereby withdraws these objections. Samsung does not oppose.

       Therefore, Netlist respectfully requests that the Court grant its motion to withdraw its

objections to the Special Master’s reports and recommendations on Samsung’s Motion to Compel

Dr. Lee’s Deposition and Netlist’s Motion to Correct.




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Dated: February 25, 2024               Respectfully submitted,

                                       /s/ Jason Sheasby

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on February 25, 2024, a copy of the foregoing was served to all

counsel of record for the relevant defendants via Email as agreed by the parties.

                                                     /s/ Jason Sheasby
                                                     Jason Sheasby

                             CERTIFICATE OF CONFERENCE

       I hereby certify that, on February 25, 2024, counsel for Netlist and Samsung met and

conferred regarding the instant motion. Samsung does not oppose.

                                                     /s/ Jason Sheasby
                                                     Jason Sheasby




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